        Case 3:15-cv-00675-JBA Document 1046 Filed 12/03/18 Page 1 of 4



                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


UNITED STATES SECURITIES AND
EXCHANGE COMMISSION

                      Plaintiff,

       v.                                               Civil Action No. 3:15-cv-675 (JBA)

IFTIKAR AHMED

                      Defendant, and

IFTIKAR ALI AHMED SOLE PROP; et al

                      Relief Defendants                 December 04TH, 2018




  DEFENDANT’S RESPONSE TO RELIEF DEFENDANTS' EMERGENCY MOTION
  [DOC. # 1010] AND THE SEC'S RESPONSE [DOC. #1045] TO MODIFY ASSET
      FREEZE TO RELEASE FUNDS TO PAY LIFE INSURNCE PREMIUMS




       The pro se Defendant respectfully submits this Response to the Relief Defendants'

Motion [Doc. #1010] for release of funds to pay the imminently due annual premiums for two

life insurance policies (the "Motion") and the SEC's Response [Doc. #1045] to the Motion.


       The Defendant has no objection to the payment of the life insurance premiums from the

assets that belong to the Relief Defendants as in preceding years as previously ordered by this

esteemed Court.




                                                1
         Case 3:15-cv-00675-JBA Document 1046 Filed 12/03/18 Page 2 of 4



                                     Respectfully Submitted,



Dated:        December 04TH, 2018    /s/ Iftikar Ahmed
                                     ___________________________
                                     Iftikar A. Ahmed
                                     C/O Advocate Anil Sharma
                                     Government Place East
                                     Kolkata 700069, India
                                     Tel: +91-983-008-9945
                                     Email: iftyahmed@icloud.com
                                     Pro Se




                                        2
        Case 3:15-cv-00675-JBA Document 1046 Filed 12/03/18 Page 3 of 4



CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was filed through the ECF system
and will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF), and served by electronic mail to:

Nicholas P. Heinke                                 Mark L. Williams
U.S. Securities and Exchange Commission            U.S. Securities and Exchange Commission
Byron G. Rogers Federal Building                   Byron G. Rogers Federal Building
1961 Stout Street, Ste. 1700                       1961 Stout Street, Ste. 1700
Denver, CO 80294                                   Denver, CO 80294
(303) 844-1071                                     (303) 844-1027
Email: heinken@sec.gov                             Email: williamsml@sec.gov

Paul E. Knag                                       Steven Gabriel Hayes Williams
Murtha Cullina, LLP                                Harris, St. Lauren & Chaudhry LLP
177 Broad Street, 4th Floor                        40 Wall Street, 53rd Floor
Stamford, CT 06901                                 New York, NY 10005
(203) 653-5400                                     (212) 397-3370
Fax: (203) 653-5444                                Fax: (212) 202-6206
Email: pknag@murthalaw.com                         Email: ghayeswilliams@sc-harris.com

Jonathan Harris                                    L. Reid Skibell
Harris, St. Laurent & Chaudhry LLP                 Harris, St. Laurent & Chaudhry LLP
40 Wall Street, 53rd Floor                         40 Wall Street, 53rd Floor
New York, NY 10005                                 New York, NY 10005
(646) 395-3481                                     (917) 512-9466
Fax: (212) 202-6206                                Fax: (212) 202-6206
Email: jon@sc-harris.com                           Email: rskibell@sc-harris.com

Priya Chaudhry
Harris, St. Laurent & Chaudhry LLP
40 Wall Street, 53rd Floor
New York, NY 10005
(212) 785-5550
Fax: (212) 202-6206
Email: priya@sc-harris.com

Kristen Luise Zaehringer
Murtha Cullina, LLP
177 Broad Street, 4th Floor
Stamford, CT 06901
(203) 653-5406
Fax: (860) 240-5758
Email: kzaehringer@murthalaw.com



                                               1
         Case 3:15-cv-00675-JBA Document 1046 Filed 12/03/18 Page 4 of 4



Dated:        December 04TH, 2018    /s/ Iftikar Ahmed
                                     ____________________________
                                     Iftikar A. Ahmed
                                     C/O Advocate Anil Sharma
                                     10 Government Place East
                                     Kolkata 700069, India
                                     Tel: +91-983-008-9945
                                     Email: iftyahmed@icloud.com

                                     Pro Se




                                        2
